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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                 HARTFORD DIVISION

IN RE:                                          )   CASE NO.           17-31385(JJT)
                                                )
                                                )   CASE NO.           16-31067 (JJT)
         DOROTHY MONIELLO                       )
                                                )   CHAPTER            13
         DEBTOR.                                )
                                                )
                                                )   MAY 2, 2018

              SUPPLEMENT TO MOTION TO APPROVE COMPROMISE AMONG
               DOROTHY MONIELLO, DAVID MADE LUNG AND MARK WINIK

         Pursuant to the Order of this Court dated March 6, 2018 (Doc. 153) (the

"Order") Mark Winik, Interested Party, ("Winik"), by and through his counsel, Joseph B.

Burns of Rome McGuigan, P.C., hereby submits this supplement to his Motion To

Approve Compromise Among Dorothy Moniello, David Madelung and Mark Winik dated

February 13, 2018 (Doc. 142), by submitting the following:

         1.      Proposed Settlement Agreement and Global Release, attached as Exhibit

A.

         2.      April 9, 2018 correspondence from Debtor Dorothy Monielio and Mr. David

Madelung, expressing acceptance of the proposed Settlement Agreement and Global

Release (Doc. 175), attached as Exhibit B.

         3.      Electronic message exchange between undersigned counsel and

representatives of the State Marshal Commission indicating efforts to establish

education for State Marshals on the automatic stay, a bankruptcy discharge and his

duties, restraints and obligations related thereto, indicating, inter alia, communication
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between the State Marshal Commission and this Court on or about April 10, 2018,

concerning same, attached as Exhibit C.

                                       RESPECTFULLY SUBMITTED,
                                       MARK WINIK, INTERESTED PARTY

                                       By: /s/ Joseph B. Burns
                                       Joseph B. Burns
                                       Federal Bar No. ct00403
                                       Rome McGuigan, P.C.
                                       One State Street, 21 st Floor
                                       Hartford, CT 06103-3101
                                       Tel: (860) 549-1000
                                       Fax: (860) 724-3921
                                       Email: jburns@rms-Iaw.com



16500-77IMNB067




                                             2
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                               EXHIBIT A
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                     SETTLEMENT AGREEMENT AND GLOBAL RELEASE

         This Settlement Agreement and Release (the "Agreement") is made and entered into as
  of March _, 2018 by and between Dorothy Moniello ("Ms. Moniello" or "Debtor"), David
  Madelung (Dorothy Moniello and David Madelung are collectively the "Claimants"), and
  Conn. State Marshal Mark Winik ("Marshal Winik") (Dorothy Moniello, David Madelung and
  Winik are collectively the "Parties" and each may be referenced individually as a "Party"). In
  consideration of the mutual promises and covenants set forth herein, the Parties agree as follows:

  I.     Recitals.      This Agreement is made with reference to the following facts:

          1.1     Prior to the events described herein Dorothy Moniello was the sole owner of real
  property located at 82-84 Lancraft Street, New Haven, Connecticut (the "Property") and resided
  at the Property until the Eviction (as defined below). Mr. Madelung also resided at the Property
  until the Eviction, but has never owned the Property.

          1.2     On June 6, 2014, Wells Fargo Bank, National Association, as Trustee for
  Securitized Asset Backed Receivables LLC Trust 200S-0P I, Mortgage Pass-Through
  Certificates, Series 200S-0PI ("Wells Fargo"), filed a foreclosure action against the Debtor in
  state court. A judgment of strict foreclosure entered on August 3, 20 IS. On June 21, 2016,
  Wells Fargo filed an amended certificate offoreclosure on the land records ofthe City of New
  Haven.

          1.3     On July 6, 2016, after Wells Fargo recorded its amended certificate of
  foreclosure, the Debtor filed a Chapter 13 Bankruptcy action, case no. 16-31067 in the United
  State Bankruptcy Court for the District of Connecticut (the "2016 Bankruptcy" and the
  "Court"). On July 29, 2016, Wells Fargo sold its interest in the Property to Shmuel Aizenberg.
  On September 1,2016, Mr. Aizenberg transferred the Property to Super Zen, LLC ("Super
  Zen").

         1.4   Ocean Management, LLC ("Ocean") is duly authorized by Super Zen to act as its
  managing agent. Ocean has managed the Property since it was acquired by Mr. Aizenberg and
  Super Zen.

         1.5     On August 24,2016, Ocean served a notice to quit on the occupants ofthe
  Property.

           1.6    On August 30, 2016, Wells Fargo moved for relief from the automatic stay in the
  2016 Bankruptcy. Wells Fargo represented in the motion that it owned the Property. However,
  at that time, Wells Fargo no longer owned the Property; it had already been transferred to Mr.
  Aizenberg and Super Zen. The Court, Nevins, J. granted Wells Fargo's motion for relief from
  stay on September 23, 2016. Ms. Moniello thereafter filed a motion to vacate the order lifting
  the stay on October 6,2016. On November 16, 2016, the Court vacated its first order and
  entered a new order granting Wells Fargo relief from stay. In accordance with applicable rule,
  said relief became effective 14 days later on November 30, 2016.
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          1.7   On September 30. 2016, Sandman Law Group, LLC ("Sandman") commenced a
  summary process action on behalf of Ocean captioned Ocean Management, LLC v. John Doe, et
  al., Docket Number NHH-CV -XX-XXXXXXX-S in the Judicial District of New Haven (the
  "Summary Process Action"), The Summary Process Action was filed against "John Doe and
  Jane Doe" because the identity of the occupants was unknown to Ocean and Sandman at the time
  the Summary Process Action was commenced. Ms. Moniello and Mr. Madelung appeared in the
  Summary Process Action on October 12, 2016 and filed answers and special defenses on
  October 17, 2016.

         1.8    On December 6, 2016 a trial was held on the Summary Process Action in state
  court. The court rendered judgment in favor of Ocean, and Ms. Moniello filed an appeal.

         1.9     The 2016 Bankruptcy was dismissed on January 6, 2017.

         1.10 After the appeal of the judgment was dismissed, and Ms. Moniello had exhausted
  her appellate options, an eviction order was issued by the state court on September 6, 2017.
  Marshal Winik served the eviction the Claimants on September 7,2017. The eviction
  commenced on September 8, 2017 and proceeded on certain dates thereafter (the "Eviction").

         1.11 On September 8, 2017, after the Eviction commenced, Ms. Moniello filed a
  second Chapter 13 Bankruptcy action, case no. 17-31385 (the "2017 Bankrnptcy").

          1.12 The Claimants have filed certain pleadings and have made certain claims against
  Marshal Winik concerning his involvement in the Eviction, and have alleged that Marshal Winik
  violated the terms of the bankruptcy automatic stay which entered upon filing of the 2017
  Bankruptcy (the "Claims").

          1.13 The Claimants and the Defendant have agreed to settle the Claims, and have
  agreed to execute releases in favor of each other stemming from any conduct occurring in or
  during the summary Process Action and the Eviction, including but no! limited to any alleged
  violations of the bankruptcy automatic stay, all as reflected in the following paragraphs.

          1.14 In consideration of the promises, covenants and conditions contained in this
  Agreement, and for good and valuable consideration, the receipt and sufficiency of which are
  acknowledged, the Parties, intending to be legally bound, release each other Party as set forth in
  the following paragraphs.

  2.     Payment:

          2.1    No later than seven (7) days after the execution of this Agreement, Marshal Winik
  will cause to be made to the Claimants the following payment:

         Forty Thousand Dollars and 001100 Cents ($40,000.00) for damages claimed by Ms.
         Moniello and Mr. Madelung against Winik pertaining to the Summary Process Action



                                                   2
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         and/or the Eviction, including but not limited to any alleged violations of the bankruptcy
         automatic stay (the "Settlement Payment").

        The Settlement Payment shall be made payable to "Dorothy Moniello and David
  Madelung" shall be delivered via hand delivery and/or federal express to Ms. Moniello and/or
  Mr. Madelung at P.O. Box 8672, New Haven, Connecticut 06531.

         The Claimants expressly acknowledge that the Settlement Payment, Charitable
  Contribution and the release described below are Winik's only material obligations pursuant to
  this Agreement, and that they further understand that the Settlement Payment is being made by
  Marshal Winik's insurance company, on behalf of Marshal Winik.

          2.2    No later than seven (7) days after the execution ofthis Agreement, Marshal Winik
  will cause to be made from his own funds payment in the amount of $1 ,000.00 to the
  Robert L. Krechevsky Pro Bono Fund the ("Charitable Contribution").

         2.3   The Claimants agree to withdraw all claims against Winik in the 2017
  Bankruptcy, with prejudice, within three (3) days of receipt of the Settlement Payment as stated
  above.

  3.     Release.

          3.1     Ms. Moniello, for herself and, as applicable, her heirs, beneficiaries, executors,
  administrators, members, partners, employees, legal representatives, predecessors, successors,
  parents, subsidiaries, agents, and assigns, and anyone claiming for or through her, for and in
  consideration of the Settlement payment, lawful money of the United States of America paid by
  the Defendant pursuant to the terms of this Agreement, and for other good and valuable
  consideration as stated in this Agreement, agrees to release and forever discharge Marshal
  Winik, his heirs, beneficiaries, executors, administrators, members, partners, employees, legal
  representatives, predecessors, successors, parents, subsidiaries, agents, assigns, insurers and
  agents, and all persons acting by, through, under, or in concert with them from any and all
  claims, demands, damages, bills, judgments, actions, or causes of action, known or unknown,
  which Ms. Moniello ever had, now has or may have for, upon or by reason of any matter, cause
  or thing whatsoever, from the beginning of the world to the date hereof regarding, relating,
  pertaining to or arising out of service of the Notice to Quit, the Summary Process Action, the
  Eviction, the Claims, or any alleged violations of the bankruptcy automatic stay in the 2016
  Bankruptcy or the 2017 Bankruptcy. This Agreement and release shall not be construed to alter
  or affect any claims held or asserted or that may be asserted by Ms. Moniello against Sandman
  Law Group, LLC, Ocean Management LLC or Attorney Michael Rozea.

          3.2    Mr. Madelung, for himself and, as applicable, his heirs, beneficiaries, executors,
  administrators, members, partners, employees, legal representatives, predecessors, successors,
  parents, subsidiaries, agents, and assigns, and anyone claiming for or through him, for and in
  consideration of the Settlement Payment, lawful money of the United States of America paid by
  the Defendant pursuant to the terms ofthis Agreement, and for other good and valuable
  consideration as stated in this Agreement, agrees to release and forever discharge Marshal


                                                   3
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  Winik, his heirs, beneficiaries, executors, administrators, members, partners, employees, legal
  representatives, predecessors, successors, parents, subsidiaries, agents, assigns, insurers and
  agents, and all persons acting by, through, under, or in concert with them from any and all
  claims, demands, damages, bills, judgments, actions, or causes of action, known or unknown,
  which Mr. Madelung ever had, now has or may have for, upon or by reason of any matter, cause
  or thing whatsoever, from the beginning of the world to the date hereof regarding, relating,
  pertaining to or arising out of service of the Notice to Quit, the Summary Process Action, the
  Eviction, the Claims, or any alleged violations of the bankruptcy automatic stay in the 2016
  Bankruptcy or 2017 Bankruptcy. This Agreement and release shall not be construed to alter or
  affect any claims held or asserted or that may be asserted by Mr. Madelung against Sandman
  Law Group, LLC, Ocean Management LLC or Attorney Michael Rozea.

          3.3      Marshal Winik for himself and as applicable, his heirs, beneficiaries, executors,
  administrators, members, partners, employees, legal representatives, predecessors, successors,
  parents, subsidiaries, agents, and assigns, and anyone claiming for or through it, for and in
  consideration of the releases in paragraphs 3.1 and 3.2 of this Agreement, and other good and
  valuable consideration, the sufficiency of which is hereby acknowledged, agrees to release and
  forever discharge the Claimants and, as applicable, their present and former officers, directors,
  managers, members, employees, partners, trustees, consultants, successors, subsidiaries, parents,
  attorneys, affiliates, assigns, insurers and agents, and all persons acting by, through, under, or in
  concert with them from any and all claims, demands, damages, bills, judgments, actions, or
  causes of action, known or unknown, which Sandman ever had, now has or may have for, upon
  or by reason of any matter, cause or thing whatsoever, from the beginning of the world to the
  date hereof regarding, relating, pertaining to or arising out of service of the Notice to Quit, the
  Summary Process Action, the Eviction, the Claims, any alleged violations of the bankruptcy
  automatic stat in the 2016 Bankruptcy or 2017 Bankruptcy or Sandman's contribution to the
  Settlement Payments. This Agreement and release shall not be construed to alter or affect any
  claims held or asserted or that may be asserted by Winik against Sandman Law Group, LLC,
  Ocean Management LLC or Attorney Michael Rozea.

          3.4    The foregoing releases shall extend to all claims specified therein of every nature
  and kind whatsoever, known, suspected or unsuspected, whether arising in equity or at law,
  including, but not limited to, any claims for fees or based on contract, tort, statute, breach of
  duty, negligence, recklessness, bad faith or any other theory of liability, common law or
  statutory.

          3.5     The foregoing releases are intended to include in their effect all claims which the
  Parties do not know or suspect to exist in their favor at the time of the execution of this
  Agreement regarding, relating, pertaining to or arising out of the Summary Process Action, the
  Eviction, the Claims, any alleged violations of the bankruptcy automatic stay in the 2016
  Bankruptcy or 2017 Bankruptcy, as well as all claims that were or could have been alleged or
  asserted in the 2016 Bankruptcy or 2017 Bankruptcy.

  4.      Waiver of Automatic Stay.




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         The automatic Stay in connection with the Property is waived and shall be of no effect in
  any subsequent bankruptcy filing by Debtor of any bankruptcy filing in the future by Mr.
  Madelung.

  5.     Non-Disparagement.

          5.1    The Parties and/or their attorneys further agree and representthat no Party and no
  Party's representative shall disparage or defame any other Party or endeavor to publish or
  disseminate information regarding the other Parties regarding, relating, pertaining to or arising
  out of the Summary Process Action, the Eviction, the Claims or Marshal Winik's payment ofthe
  Settlement Payment or the Charitable Contribution.

  6.     No Admission ofLiabilitv.

           The Claimants understand and acknowledge that this Agreement represents the settlement
  of doubtful and disputed claims against Marshal Winik concerning in the Summary Process
  Action, the Eviction, the Claims, any alleged violations ofthe bankruptcy automatic stay in the
  2016 Bankruptcy or 2017 Bankruptcy, as well as all claims that were or could have been alleged
  or asserted in the 2016 Bankruptcy or 2017 Bankruptcy, and the settlement of the Claims shall
  not be construed as an admission of liability or any fault on the part of Marshal Winik, which
  liability or fault is understood and acknowledged by the Claimants to be expressly denied by
  Marshal Winik.

  7.      Representations, Warranties and Agreements.

         7.1     Each Party has had the opportunity to receive independent legal advice from
  counsel with respect to the advisability of entering into the terms of this Settlement Agreement.
  Mr. Madelung acknowledged and represented, individually and on behalf of Ms. Moniello, at the
  hearing on March 22, 2018, that they have conferred with attorneys and other persons regarding
  entering into and accepting the terms of this Settlement Agreement.

          7.2     Each Party has made such investigation of the facts pertaining to the settlement
  reflected in this Agreement and of all the matters pertaining thereto as they deem necessary.

         7.3      The Parties or their authorized representative have read this Agreement,
  understand its terms, conditions and contents and are duly authorized both to execute this
  Agreement and to bind the Parties.

          7.4     The Parties have not assigned, transferred, or granted, or purported to assign,
  transfer, or grant, any interest of any kind in the 2016 Bankruptcy, 2017 Bankruptcy or the
  Claims, or in any ofthe claims, demands, or cause or causes of action disposed of by this
  Agreement.

  8.     General Provisions




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         8.1     Integration. This Agreement is intended to be and constitutes the final, complete
  and exclusive agreement regarding the subject matter of this Agreement and all prior or
  contemporaneous agreements, understandings, representations and statements, oral or written,
  are merged into and superseded by this Agreement. No parol or extrinsic evidence of any kind
  and no course of dealings or usage of trade or course of performance shall be used to vary,
  contradict, supplement or add to the terms of this Agreement.

          8.2    Amendment. No amendment, modification, termination or waiver of this
  Agreement or any of its provisions shall be valid unless it is in writing and signed by the Party
  against which such amendment, modification, termination or waiver is sought to be enforced.

          8.3    Waiver.        No waiver of any breach of any provision or term of this
  Agreement shall be deemed a waiver ofa bready ofa similar or dissimilar provision or condition
  at the same time or any prior or subsequent time or of the provision or term itself.

          8.4     Binding Effect.       This Agreement shall bind and inure to the benefit of the
  Parties and their respective successors, assigns and legal representatives. Except as otherwise
  stated in this Agreement, no person or entity other than the Parties shall have any rights under, or
  be deemed a beneficiary of this Agreement.

          8.5    Survival.     All representations, warranties, covenants and agreements
  contained in this Agreement shall survive its execution and delivery and any and all performance
  in accordance with this Agreement.

         8.6     Governing Law.        This Agreement shall be governed by and construed and
  enforced in accordance with the laws ofthe State of Connecticut without regard or reference to
  choice of law provisions or rules.

          8.7      Jurisdiction and Venue.         Any dispute relating in any way to this Agreement
  shall be litigated in the Bankruptcy Court, for as long as the Bankruptcy Court retained
  jurisdiction over the parties regarding this Agreement and the events giving rise thereto. If a
  dispute relating in any way to this Agreement arises after the Bankruptcy Court no longer has
  jurisdiction, said dispute shall be litigated in a state court located in Connecticut. The state
  housing court is recognized by the Parties as having concurrent jurisdiction respecting matters
  arising under the lease described herein.

          8.8     Rules of Construction.        The section headings contained in this Agreement
  are for reference purposes only and shall not affect the meaning or interpretation ofthis
  Agreement. References to a section without further attribution shall refer to the section of this
  Agreement. When indicated by the context, each number, both singular and plural, includes all
  numbers, and each gender includes all genders. As used herein, the terms "include," "including"
  and similar terms shall be construed as iffollowed the words "without limitation," the term
  "person" includes a natural person, firm, partnership, corporation, limited liability company,
  association and any other private or public entity; and the term "provisions" shall be construed as
  if followed by the words "covenants, agreements, representations, warranties, indemnities, terms
  and/or conditions."


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            8.9    Severability. If anyone or more ofthe provisions ofthis Agreement shall for
   any reason to be held to be invalid. illegal or unenforceable in any respect, then such invalidity,
   illegality or unenforceability shall not affect any other provision ofthis Agreement and this
   Agreement shall be construed as if such invalid, illegal or unenforceable provisions had never
   been included in this Agreement.

           8.10 Interpretation. This Agreement has been negotiated at arm's length. Any rule of
   law or legal decision that would require interpretation of this Agreement against the drafter is not
   applicable and is waived.

           8.11 Attorney's Fees.        Each party shall pay his, her or its own attorneys' fees,
   costs and related expenses incurred by them in connection with the 2016 Bankruptcy and 2017
   Bankruptcy and with the negotiation, preparation, execution and delivery of this Agreement.

          8.12 Effectiveness. This Agreement shall become effective when it has been approved
   by the Court and executed by the Parties and delivered to the Parties' legal counsel. Facsimile
   and electronically stored, scanned signatures and delivery by facsimile or electronic mail
   transmission shall be valid and effective.

           IN WITNESS WHEREOF, the Parties have executed this Agreement on the date
   indicated below.

   Dated as of the _    day of March 2018.




                                                      DOROTHY MONIELLO



                                                      DA VID MADELUNG



                                                      CONN. STATE MARSHAL MARK WINIK



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                               EXHIBIT B
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                                 Document      Page 1 of 1


  April 9,2018

  The Honorable James J. Tancredi                                        FILED
  U.S. Bankruptcy Court
  450 Main St, Hartford, CT 06103                                     1018 APR 12 P 12: 3q
                                                                   CLERK. U.S. BANKRUPTCY COURT
                                                                      DISTRICT OF COHNECIiCUr
                                                                             HARTFORD


  Dear Judge Tancredi,



  We, Dorothy Moniello and David Madelung, the "Claimants" due by this writing have by
  acknowledge our acceptance of the settlement agreement and global release between ourselves
  and the Connecticut State Marshall Mark Winik. Dated: April 9, 2018.




  Respectfully,



  Dorothy Moniello




   David MadeJung
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                               EXHIBIT C
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Joseph B. Burns

From:                                Montgomery, Jennifer <Jennifer.Montgomery@ct.gov>
Sent:                                Tuesday, April 10, 2018 12:59 PM
To:                                  Tracey Sheedy; Joseph B, Burns
Cc:                                  'W, Martyn Philpot Jr.'; Moore, Doug
Subject:                             RE: Impact of Federal Bankruptcy Laws



Tracey,

Thank you very much for this information, Please let Attorney Burns know when he returns that we have placed a call to
chambers,

Best,
Jennifer Montgomery



cJdl1l1ifer Cif' cMOfl/g'omerp
Staff Attorney
Department of Administrative Services
State Marshal Commission
Phone: 860-713-5374
Email: Jennifer,Montgomery@ct.gov




From: Tracey Sheedy [mailto:tsheedy@rms-Iaw,com]
Sent: Monday, April 09, 2018 2:22 PM
To: Montgomery, Jennifer <Jennifer,Montgomery@ct.gov>; Joseph B, Burns <jburns@rms-Iaw,com>
Cc: 'w, Martyn PhilpotJr,' <wmphilpot@philpotlaw,net>; Moore, Doug <Doug,Moore@ct.gov>
Subject: RE: Impact of Federal Bankruptcy Laws

Ms, Montgomery: Attorney Burns is out of the country at the present time and will return to the office on April 16, I am
taking the liberty of providing the following information in response to your e-mail (below),

Judge Tancredi Courtroom Deputy            Karen VanKruiningen      860-240-3679



Tracey C, Sheedy, Paralegal
860-493-3586




From: Montgomery, Jennifer [mailto:Jennifer,Montgomery@ct.gov]
Sent: Wednesday, April 04, 2018 11:59 AM
To: Joseph B. Burns
Cc: 'W, Martyn Philpot Jr.'; Tracey Sheedy; Moore, Doug
Subject: RE: Impact of Federal Bankruptcy Laws

Attorney Burns,

                                                             1
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My secretary advised me of your call yesterday. I hope you are doing well. For your information, we have very recently
had a new director appointed, Douglas Moore. Given the nature of the Court's order and the Commission's disciplinary
function, we have contacted the Attorney General's office for advice on how the office should best proceed. If you
could kindly provide contact information for the appropriate contact person in Judge Tancredi's chambers to speak with
on this issue, that would be much appreciated.

Best,
Jennifer Montgomery



cJ81l11ifer   cqo ol(~f1lg"omerp
Staff Attorney
Department of Administrative Services
State Marshal Commission
Phone: 860-713-5374
Email: Jennifer.Montgomery@ct.gov



From: Joseph B. Burns [mailto:jburns@rms-Iaw.com]
Sent: Thursday, March 29, 2018 5:36 PM
To: Beckham, Jeffrey <Jeffrey.Beckham@ct.gov>
Cc: 'W. Martyn Philpot Jr.' <wmphilpot@philpotlaw.net>; Montgomery, Jennifer <Jennifer.Montgomery@ct.gov>;
Tracey Sheedy <tsheedy@rms-Iaw.com>
Subject: RE: Impact of Federal Bankruptcy Laws

Mr. Beckham,

I have not heard further from your office concerning the matter discussed, below. Judge Tancredi has issued the
following Order on March 27, 2018 (emphasis added; original attached). At a hearing held on March 22, 2018, the Court
stated on the record that he would like me to coordinate a call with the Court and Chairman Philpot to discuss this issue,
which remains of considerable concern to the Court.

Please let me know when you and Chairman Philpot are available to discuss this matter further, and to arrange for the
call with Judge Tancredi. Thank you.

              17-31385 Dorothy Moniello
              Order 163
              Docket Text:
              ORDER: The Court will consider this matter further upon the delivery of definitive settlement documents to the
              Settling Parties for their review and approval and the filing of those documents and a certification by the parties
              of their acceptance of the proposed terms of the settlement. Further in order to address appropriately the
              gravity of the conduct examined herein, the Court would require a $1000 donation to the Judge Krechevsky pro
              bono fund (administered by the CBF and this Court) from the personal funds of Marshall Winik and continued
              efforts by him and his legal counsel to arrange or facilitate appropriate Bankruptcy education of the State
              Marshalls relating to the automatic stay and discharge injunctions. (RE: [142] Motion to Compromise filed by
              Interested Party Mark Winik). On or before March 30, 2018 the Clerk's Office shall serve this Order on Dorothy
              Moniello the Pro Se filer

Joseph B. Burns Ciburns@rms-Iaw.com)
Rome McGuigan, P.e.
One State Street, 21st Floor
                                                                   2
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Hartford, CT 06103
(860) 493-3410
(860) 559-5073 (mobile)
(860) 724-3921 (fax)


                                 PRIVILEGE AND CONFIDENTIALITY NOTICE

The information in this electronic mail is intended for the addressed recipient(s) only. This email may contain
privileged and confidential material from the law firm of Rome McGuigan, P.e. If you are not the intended
recipient, please be advised that any disclosure, copying, distribution or use of the contents of this information
is prohibited. If you have received this email in error, please notify the sender immediately by replying to this
email or by telephone. Thank you.


From: Beckham, Jeffrey [mailto:Jeffrey.Beckham@ct.gov]
Sent: Friday, February 09, 2018 1:30 PM
To: Joseph B. Burns
Cc: 'W. Martyn Philpot Jr.'; Montgomery, Jennifer
Subject: FW: Impact of Federal Bankruptcy Laws

Attorney Burns,

We received your correspondence of January 12. Thank you.

We have forwarded your letter to Chairman Philpot to determine the Commission's course of
action, if any. Bankruptcy law has not traditionally been offered as part of the state marshal
training program. However, we will explore the necessity or feasibility of doing so.

Thank you for your interest.

                         Jeffrey R. Beckham
                         Staff Director
                         State Marshal Commission
                         Department of Administrative Services
                         450 Columbus Boulevard, Suite 1504
                         Hartford. Connecticut 06103
                         860.713.5372



From: Joseph B. Burns [mailto:jburns@rms-law.comJ
Sent: Friday, February 09,201810:23 AM
To: Montgomery, Jennifer <Jennifer.Montgomery@ct.gov>
Cc: Tracey Sheedy <tsheedy@rms-Iaw.com>
Subject: Impact of Federal Bankruptcy Laws

Jennifer,

After speaking with the State Marshal Commission's secretary this morning, I am forwarding you the attached letter,
which I hope is somewhat self-explanatory. Please contact me at your earliest convenience so that we may discuss the
issues addressed therein. Thank you.
                                                           3
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